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                                                           United States Attorney
                                                           District of New Jersey


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                                                           November 21, 2017
VIA ELECTRONIC MAIL & ECF
Honorable Anne E. Thompson
United States District Judge
Clarkson S. Fisher U.S. Courthouse
402 East State Street
Trenton, New Jersey 08608

                      Re:          C. Tate George v. United States
                                   Civ. A. No. 17-2641 (AET)

Dear Judge Thompson:

      The Government writes regarding the Order to Show Cause that the
Court issued on November 20, 2017, based upon the Government’s failure to
respond to Petitioner’s initial petition for habeas corpus. (Dkt. No. 24.)

        As set forth in the Court’s November 20, 2017 Opinion (Dkt. No. 23),
Petitioner first filed his motion on April 18, 2017 (Dkt. No. 1). This petition was
terminated administratively on May 1, 2017, and Petitioner resubmitted his
initial petition on July 7, 2017 (Dkt. No. 7). On September 1, 2017, the Court
ordered the Government to respond by October 31, 2017. (Dkt. No. 16.)

       Before the Government’s response was due, on September 13, 2017,
Petitioner filed a motion to amend his petition (Dkt. No. 17), which the Court
denied without prejudice (Dkt. No. 19). Again before the Government’s
response was due, on October 20, 2017, Petitioner filed another motion to
amend. (Dkt. No. 21.)

      The Court has now granted Petitioner’s motion to amend, and issued the
Order to Show Cause. (Dkt. No. 24.)
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       The Government apologizes, but was operating under the belief that once
the Court dealt with Petitioner’s motion to amend, it would then set a new
schedule for briefing in this matter. The Government, apparently, was wrong
in its assumption, and, again, apologizes. The Government respectfully
requests that the Order to Show Cause be vacated, and the Government be
allowed to answer the petition by January 21, 2018, 60 days from today.


                                          Respectfully Submitted,

                                          WILLIAM E. FITZPATRICK
                                          Acting United States Attorney

                                          /s/ Zach Intrater

                                    BY:   ZACH INTRATER
                                          Assistant United States Attorney




cc:   C. Tate George (via ECF)




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